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    July 31, 2024


    The Honorable Kiyo Matsumoto
    United States District Judge
    United States District Court for the Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

    Re:     United States v. Greebel, 15-CR-0637 (KAM)

    Dear Judge Matsumoto:

            With the consent of the United States, I write to respectfully request an extension of
    time, from August 2, 2024 to October 1, 2024, for the parties to submit their replies to the
    Mandate of the U.S. Court of Appeals Summary Order (the “Replies”). See Docket Entry
    dated May 30, 2024.

            The parties have been engaging in good-faith efforts to resolve this matter without the
    need for further litigation, or at least to limit the scope of the issues. The parties have made
    progress but require additional time to complete these efforts. Specifically, the government
    recently made what it believes is its last and final offer, which Mr. Greebel needs time to
    consider. In any event, the government does not anticipate consenting to any further requests
    for an extension of the parties’ time to file their Replies. This request is therefore being
    made to allow the parties additional time necessary to resolve this matter on mutually
    agreeable terms.

            This is the eighth request by either party for an extension of the deadline to submit
    their Replies. See ECF Nos. 789, 790, 791, 792, 795, 796, 797. The Court previously
    approved the seven prior requests, which collectively extended the parties’ deadline from
    July 14, 2023 until August 2, 2024. See Docket Entries dated July 13, 2023, August 15,
    2023, September 25, 2023, November 30, 2023, February 8, 2024, April 1, 2024, May 30,
    2024.

    Respectfully,

    /s/ Marc Aaron Takagaki

    Marc Aaron Takagaki

    Cc: All Counsel of Record (via ECF)



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